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                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA


VICTORIA CHARITY WHITE,

      Plaintiff,

      v.                               Civil Action No. 1:22-cv-00027-TSC

ROBERT J. CONTEE III, et al.,

      Defendants.




                                EXHIBIT A




                                                                            001
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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


VICTORIA CHARITY WHITE,

       Plaintiff,

       v.                                         Civil Action No. 1:22-cv-00027-TSC

ROBERT J. CONTEE III, et al.,

       Defendants.



                       DECLARATION OF TERESA QUON HYDEN

       I, Teresa Quon Hyden, hereby declare under penalty of perjury that the following is true and

correct to the best of my knowledge and belief:

       1.      I am over the age of 18 and competent to render testimony contained herein based

upon information and belief, personal knowledge, and information provided to me through my

employment with the Metropolitan Police Department (MPD).

       2.      I am an Assistant General Counsel for MPD. The Office of the General Counsel

and the Executive Office of the Chief of Police is located at 441 Fourth Street NW, Washington,

D.C. 20001

       3.      Monica Campbell is a Mail Assistant at MPD and works in the Mail Room.

       4.      On May 16, 2022, Monica Campbell signed for a package containing a copy of

the summons and complaint for the above captioned case.




                                                                                               002
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       5.      Ms. Campbell is not authorized to accept service on behalf of Chief of Police,

Robert J. Contee III.

Date: July 6, 2022                           _________________________________
                                             Teresa Quon Hyden
                                             Assistant General Counsel
                                             Metropolitan Police Department




                                                                                                003
